 

Case MDL No. 528 Document 2 Filed 06/01/15 Page 1 of 2

JUDICIAL PANEL ON

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE GENERAL AVERAGE LITIGATION ARISING FROM THE GROUNDING
OF THE M/V JYTTE SKOU OFF SALVADOR, BRAZIL, ON DECEMBER 12,
1976

ORDER DEEMING MOTION WITHDRAWN AND
VACATING HEARING

This matter is presently before the. Panel pursuant
to a motion under 28 U.S.C. §1407 to centralize the five
actions on the attached Schedule A in the Southern District
of New York for coordinated or consolidated pretrial pro-
ceedings. Movant now reports to the Panel that it has entered
into a settlement agreement with defendants in the actions
and has agreed to a dismissal of the actions. Accordingly,
movant states that it now wishes to withdraw its Section
1407 motion.

IT IS THEREFORE ORDERED that movant's request to withdraw
its motion be granted, and that the motion be, and the same
hereby is, DEEMED WITHDRAWN.

IT IS FURTHER ORDERED that the hearing order filed
on November 5, 1982, as amended on November 15, 1982, and
the schedule attached thereto be, and the same hereby are,
VACATED insofar as they relate to the above-captioned litigation.

FOR THE PANEL:

Chairman

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MDL-528 -- In re General Average Litigation Arising from the
Grounding of the M/V_JYTTE SKOU off Salvador, Brazil,

on December 12, 1976

District of Massachusetts

Ove Skou_R/A v. Munro Wool Inc.
C.A. No. 81-3103-Z

 

District of Connect.icut

Ove Skou R/A v. Barkey International Corp.,
C.A. No. Civ. B-81-597

Eastern District of Pennsylvania

Ove Skou R/A v. Blar Co., Ltd., et al.,
C.A. No. Civ 81-5147

Fastern District of North Carolina

Ove Skou R/A v. Cigar Supply Inc.,
C.A. No. 81-124-Civ-7A

Southern District of New York

Ove Skou R/A v. Hills Bros. Coffee, Inc., et al.,
C.A. No. 81 Civ 7548
